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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                     Chapter 11

    Yellow Corporation, et al.                                 Case No. 23-11069 (CTG)

                    Debtors.                                   Jointly Administered

                                                               Hearing Date: October 23, 2023 at 10 am (ET)
                                                               Objection Deadline: October 16, 2023 at 4 pm (ET)

                                             NOTICE OF MOTION

TO: (A) COUNSEL FOR THE DEBTORS; (B) COUNSEL FOR THE OFFICE OF THE UNITED
STATES TRUSTEE FOR THE DISTRICT OF DELAWARE; (C) COUNSEL FOR THE
DEBTOR-IN-POSSESSION FINANCING LENDERS; (D) COUNSEL FOR THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS; AND (E) KNOWN PARTIES HAVING AN
INTEREST IN THE SUBJECT PROPERTY AS SET FORTH IN THE ATTACHED
CERTIFICATE OF SERVICE:


PLEASE TAKE NOTICE that. Jimmie and Janel Hubert (“Movants”) have filed the attached
Motion of Jimmie and Janel Hubert for Relief from the Automatic Stay Pursuant to 11 U.S.C. §
362 (the “Motion”). 1

PLEASE TAKE FURTHER NOTICE that, any objections or responses to the relief requested
in the Motion must be filed and served so as to be received on or before October 16, 2023 at 4:00
p.m. (ET) (the “Objection Deadline”) with the United States Bankruptcy Court for the District of
Delaware, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801. At the same time,
copies of any responses or objections to the Motion must be served upon the undersigned counsel
to Movant so as to be received on or before the Objection Deadline.

PLEASE TAKE FURTHER NOTICE THAT, A HEARING TO CONSIDER THE MOTION
WILL BE HELD ON October 23, 2023 at 10:00 a.m. (ET) BEFORE THE HONORABLE
CRAIG T. GOLDBLATT UNITED STATES BANKRUPTCY JUDGE, AT THE UNITED
STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 N. MARKET
STREET, WILMINGTON, DELAWARE 19801 (THE “HEARING”).




1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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PLEASE TAKE FURTHER NOTICE THAT, IF NO OBJECTIONS OR RESPONSES TO
THE MOTION ARE TIMELY FILED AND RECEIVED IN ACCORDANCE WITH THIS
NOTICE, THE COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION
WITHOUT FURTHER NOTICE OR A HEARING.


 DATED: 10/4/2023                         COOCH AND TAYLOR, P.A.

                                          /s/ R. Grant Dick IV
                                          R. Grant Dick IV (#5123)
                                          The Brandywine Building
                                          1000 N. West Street, Suite 1500
                                          Wilmington, DE 19801
                                          Telephone: (302) 984-3800
                                          Email: gdick@coochtaylor.com

                                          Attorney for Movants




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